Case 3:10-cr-00054-I\/||\/|H-PDB Document 1 Filed 02/24/10 Page 1 of 2 Page|D 1
UN|TED STATES DlSTRlCT COURT

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v. cAsE No. 3:1__9;@'=5.§~5¢)&¢#3;4-{'IEM
BARBARA ANN wiNToN Ct' 12 18103§“;%;§":%€'%%?§& `

a/k/a “Barbara Ann Carro||"
a/kla “Ann Shabelli"

lNDlCTMENT
The Grand Jury charges:
COUNT ONE
On or about August 27. 2007, in Sumter County and Duva| County, in the Midd|e
District of Florida,
BARBARA ANN W|NTON
a/k/a “BARBARA ANN CARROLL”
a/k/a “ANN SHABELL|",
the defendant herein, did knowingly and willful|y, by means and use of an instrument of
interstate commerce. that is, a cellular telephone, threaten to unlawfully destroy a
building by means of tire and explosives, specifically. by stating in substance that a

bomb was going to explode at the Jacksonvil|e international Airport.

ln violation of Tit|e 18, United States Code, Section 844(e).

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Foreperion

 

A. BRlAN ALBR|TTON
United States Attorney

By: \4‘,¢~4§ C.. 1~¢1,.3
K NC. FRE|N
A 's nt United States Attorney

By:

 

MA D. HEAVENER, ll|
Assistant United States Attorney
Deputy Chief, Jacksonvil|e Division

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